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 3                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
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11
      TAVIA LAWSON, Individually, And ) Case No. 2:14-cv-06232-DDP-FFM
12    On Behalf Of Others Similarly Situated, )
13
                                              ) ORDER
                       Plaintiff,             )
14
      v.                                      )
15                                            )
      ACURIAN, INC.,                          )
16
                                              )
17                     Defendant.             )
18
                                              )
                                              )
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20
            IT IS HEREBY ORDERED that pursuant to the Stipulation of the parties
21
      this matter is dismissed with prejudice as to the named Plaintiff, and without
22
      prejudice as to the Putative Class alleged in the complaint, pursuant to Federal
23
      Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear their own costs and
24
      attorneys’ fees.
25

26
            Dated: October 01, 2015
27
                                                      Honorable Dean D. Pregerson
28




                                         Order to Dismiss - 1
